  Case 3:24-cv-00063-RK-RLS Document 5 Filed 01/08/24 Page 1 of 2 PageID: 73




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

WADE SARVER, derivatively on behalf of
VERIZON COMMUNICATIONS INC.,

      Plaintiff,

      v.                                       Case No. 3:24-cv-00063-RK-RLS

HANS VESTBERG, MATTHEW ELLIS,
CLARENCE OTIS, JR., SHELLYE L.
ARCHAMBEAU, ROXANNE S. AUSTIN,
MARK T. BERTOLINI, VITTORIO COLAO,
MELANIE L. HEALEY, LAXMAN
NARASIMHAN, DANIEL H. SCHULMAN,
RODNEY E. SLATER, CAROL B. TOMÉ,
GREGORY G. WEAVER, LOWELL C.
MCADAM, RICHARD CARRIÓN,
FRANCES KEETH, and KATHRYN TESIJA,

      Defendants,

      and

VERIZON COMMUNICATIONS INC.,

      Nominal Defendant.


             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        PLEASE TAKE NOTICE that pursuant to Fed. R. Civ. P. 41(a), Plaintiff Wade Sarver

(“Plaintiff”) hereby voluntarily dismisses the above-captioned action against all defendants

without prejudice. No defendant has filed an answer or moved for summary judgment. Neither

Plaintiff nor Plaintiff’s counsel has received or will receive directly or indirectly any

consideration for the dismissal.
 Case 3:24-cv-00063-RK-RLS Document 5 Filed 01/08/24 Page 2 of 2 PageID: 74




Dated: January 8, 2024               THE ROSEN LAW FIRM, P.A.

                                     /s/ Laurence M. Rosen
                                     Laurence M. Rosen
                                     One Gateway Center, Suite 2600
                                     Newark, NJ 07102
                                     Telephone: (973) 313-1887
                                     Facsimile: (973) 833-0399
                                     Email: lrosen@rosenlegal.com

                                     Counsel for Plaintiff




                                     2
